     Case 2:18-cv-10029-SB-MAA Document 96 Filed 09/28/21 Page 1 of 2 Page ID #:639



                                                                 September 28, 2021
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                                                                      VPC
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                                                                       JS-6

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 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA

10    ORLANDO ROUCHON, WYTASHA                  )   Case No. 2:18-cv-10029-SB(MAAx)
11    JUSTICE, J.R., a minor by and             )
      through her Guardian ad Litem, Robert     )   Honorable Stanley Blumenfeld
12
      Powell,                                   )
13                                              )   ORDER GRANTING STIPULATION RE:
14
                   Plaintiffs,                  )   DISMISSAL WITHOUT PREJUDICE
      v.                                        )
15                                              )
16    COUNTY OF LOS ANGELES,                    )
      GABRIELA TODMIA, and Does 1               )
17    through 10 Inclusive,                     )
18                                              )
                                 Defendants.    )
19
                                                )
20
            On September 27, 2021, Plaintiffs Orlando Rouchon, Wytasha Rouchon, and J.R.,
21
      a minor, by and through her Guardian ad litem, Robert Powell, and Defendant County of
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      Los Angeles, (collectively, the Parties), by and through their counsel of record, filed a
23
      Stipulation Re: Dismissal Without Prejudice. Dkt. No. 95.
24
            The Court, having reviewed the Parties’ Stipulation Re: Dismissal Without
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      Prejudice, and finding good cause, orders as follows:
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27
            1. The entire action is dismissed without prejudice;

28          2. The Court will retain jurisdiction over this matter until May 1, 2022 or until such

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                                                                   Case No. 2:18-cv-10029-SB(MAAx)
     Case 2:18-cv-10029-SB-MAA Document 96 Filed 09/28/21 Page 2 of 2 Page ID #:640




 1    time that parties can file a stipulation for a dismissal of the entire action with prejudice or
 2    alternately seek other appropriate relief.
 3
 4    IT IS SO ORDERED.
 5
 6    DATED: September 28, 2021
 7
 8                                      Honorable Stanley Blumenfeld
 9                                      United States District Judge
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